                                                                              CHAPTER 13 PLAN
                                                                                                                                                  Case No.: 14-81554
 Debtor(s): Fred Ashford, Jr.                                    SS#: xxx-xx-7883                 Net Monthly Earnings:                401.38
               Mattie L. Ashford                                 SS#: xxx-xx-6371                Number of Dependents:                       0

1. Plan Payments:
   ( X ) Debtor(s) propose to pay direct a total of $                           400.00          weekly     bi-weekly      semi-monthly      monthly into the plan; or
    (        ) Payroll deduction Order: To                                                                                                                                for
                                                                     $                                   weekly   bi-weekly      semi-monthly         monthly.

    Length of plan is approximately         60      months, and the total amount of debt to be distributed by the Trustee is approximately $         24,000.00        .
II. From the payments received, the trustee shall make disbursements pursuant to the Bankruptcy Code including:
    A. PRIORITY CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES AND SUPPORT) [See § 1322(a)(2)]
    The following priority claims, if allowed, will be paid in full unless creditor agrees otherwise:
 CREDITOR                                      TYPE OF PRIORITY                                            SCHEDULED AMOUNT                             MONTHLY PAYMENT
 -NONE-
    B. Total Attorney Fee: $ 3,000.00 ; $0.00 paid pre-petition; $ 0.00 to be paid at confirmation and $ 333.33                                  per month.
    C. The holder of each SECURED claim shall retain the lien securing such claim until a discharge is granted and such claim shall be paid in full with interest in
    deferred cash payments as follows:
            1. Long Term Debts:
                                                                                                                                          Months
                                                                                                                                         included Proposed
                                                                   Amount of                   Regular Payments        Arrears to be            in Interest         Proposed Fixed
                                                  Total Amount of  regular payment             to begin:                    paid by      arrearage Rate on             Payment on
 Name of Creditor                                             Debt to be paid                  Month/Year                   Trustee        amount Arrearage              Arrearage
                                                                                 by Trustee
                                                                                 by Debtor
 Citifinancial Mortgage                                 $66,000.00               $572.00                               $5,000.00                      5.25%                 $196.98
            2. Secured Debts (not long term debts) to be paid through Trustee:
                                      Adequate                                                                                           Proposed             Proposed             Fixed
                                     Protection    Total Amount                               Unsecured                                   Interest                fixed         Payment
 Name of Creditor                    Payments            of Debt         Debtor's Value         Portion Description of Collateral          Rate               Payments          to Begin
 First Cash Express,                                                                                                                                                        Month
 LLC                                    $7.00        $1,300.00               $1,300.00           $0.00 1999 Ram Pickup                    5.25%               $51.22          9
 First Franklin                                                                                                                                                             Month
 Financial                              $2.00        $1,300.00               $3,000.00           $0.00 2004 Explorer                      5.25%               $51.22          9
                                                                                                                                                                            Month
 Title Buck                             $2.00        $1,400.00               $1,500.00           $0.00 2002 Cadilac Deville               5.25%               $55.16          9
III. Other debts (not shown in 1 or 2 above) which Debtor(s) propose to pay direct:
                                                                                          Amount of Regular
 Name of Creditor                                         Total Amount of Debt                     Payment Description of Collateral              Reason for Direct Payment
 -NONE-
IV. Special Provisions:
                  This is an original plan.
                 This is an amended plan replacing plan dated            .
                  This plan proposes to pay unsecured creditors          100     %.
                  Other Provisions:
           Special Intentions:
           CashMaster: Debtor is surrendering the 2000 Dodge Caravan to Creditor in full satisfaction of the secured claim.
           Creditor shall be allowed an unsecured claim for the deficiency balance owed.
 Name/Address/Telephone/Attorney for Debtor (s)                      Date June 6, 2014                                    /s/ Fred Ashford, Jr.
 John Zingarelli ASB-6695-L69J                                                                                            Fred Ashford, Jr.
                                                                                                                          Signature of Debtor
 PO Box 2145                                                                                                              /s/ Mattie L. Ashford
 Decatur, AL 35602                                                                                                        Mattie L. Ashford
 Telephone # (256) 350-1264                                                                                               Signature of Debtor


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                                                              United States Bankruptcy Court
                                                                     Northern District of Alabama
            Fred Ashford, Jr.
 In re      Mattie L. Ashford                                                                            Case No.   14-81554
                                                                                 Debtor(s)               Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on June 6, 2014, a copy of Amended Chapter 13 Plan       was served electronically or by regular
United States mail to all interested parties, the Trustee and all creditors listed below.

 A-1 Title Pawn
 Advance America
 Amcol Systems
 Business Revenue Systems, Inc
 Cash Connection
 CashMaster
 Check n Go
 Checkredi
 Citifinancial Mortgage
 Complete Cash
 Emergency Physician Statement
 First Cash Express, LLC
 First Franklin Financial
 First National Collection Bureau, Inc.
 Lauderdale Radiology Group
 Madison Dental Care
 Revenue Recovery
 Sheps & Associates, PLLC
 Sun Loan Co
 Title Buck
 Title Cash
 Transworld Systems Inc



                                                                               /s/ John Zingarelli
                                                                               John Zingarelli ASB-6695-L69J
                                                                               John Zingarelli, PC
                                                                               PO Box 2145
                                                                               Decatur, AL 35602
                                                                               (256) 350-1264Fax:(256) 350-2010
                                                                               johnz@hiwaay.net




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